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                                                         UNITED STATES DISTRICT COURT
                                                             DISTRICT OF MASSACHUSETTS
                                                                    OFFICE OF THE CLERK
                                                                     1 COURTHOUSE WAY
                                                          BOSTON, MASSACHUSETTS 02210

Robert M. Farrell
CLERK OF COURT

May 6, 2014

Paul M. Jones
572 Park Street
Stoughton, MA 02072

RE: Returned Check #1039, Dated: 04/17/2014


Dear Mr. Jones,

        Please be advised that the check sent in the amount of $505.00, as payment for the appeal
fee in case 1:12-CV-11503 has been returned from the bank as uncollectible. We have received
the additional money order# 14-836638572 in the amount of $505.00.

       Under the Miscellaneous Fee Schedule approved by the Judicial Conference of the
United States, in accordance with 28 U.S.C. §1914, an additional fee of $53.00 must be charged.
Therefore, please forward without delay the sum of $53.00 in the form of a money order or bank
check payable to the Clerk, US District Court. Please forward the payment to my attention.

        Please feel free to contact me at 617-748-9136 if you should have any questions.



                                            Sincerely,



                                            Lucien Adam
                                            Assistant Financial Manager
